         Case 20-60030 Document 1080-2 Filed in TXSB on 01/25/23 Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION

    In re:                                                   §                        Chapter 7
                                                             §
    Q’Max America, Inc., et al 1                             §               Case No. 20-60030-CML
                                                             §
              Debtors.                                       §                 Jointly Administered


 ORDER GRANTING TRUSTEE’S MOTION PURSUANT TO BANKRUPTCY RULE
9019 FOR ENTRY OF AN ORDER APPROVING COMPROMISE AND SETTLEMENT
    WITH NABARRETTE, LLC, d/b/a SILVERBACK TRANSPORT AND ALICE
NABARRETTE CASTILLO, AND MCDOWELL HETHERINGTON’S APPLICATION
                 FOR PAYMENT OF CONTINGENCY FEE


                                      (Relates to Doc. No.____________)


             CAME FOR CONSIDERATION on the Motion Pursuant to Bankruptcy Rule 9019 for

Entry of an Order Approving Compromise and Settlement with Nabarrette, LLC, d/b/a Silverback

Transport and Alice Nabarrette Castillo, and McDowell Hetherington’s Application for Payment

of Contingency Fee filed by Trustee.2 After considering the Motion, all responses thereto, the

arguments of counsel and the evidence presented, if any, the Court is of the opinion and finds that:

(i) notice of the Motion was in all respects adequate and proper; (ii) the Motion has merit, meets

the standard set forth in Protective Committee’s for Independent Stockholders of TMT Trailer

Ferry, Inc. v. Anderson,3 (iii) the proposed compromise between Trustee, Silverback, and Castillo,

as recited in the Motion and as set forth herein, should in all things be approved accordingly, it is

hereby:



1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification numbers are:
    Q’Max America Inc. (2319) and Anchor Drilling Fluids USA, LLC (5395).
2
    Defined terms utilized herein shall have the same meaning ascribed to them in the Motion.
3
    390 U.S. 414 (1967).
      Case 20-60030 Document 1080-2 Filed in TXSB on 01/25/23 Page 2 of 2




        ORDERED the Motion is Granted in its entirety; it is further

        ORDERED the Settlement Agreement attached as Exhibit A to the Motion is Approved,

and the terms thereof shall be binding upon the Trustee, Silverback, and Castillo; it is further

        ORDERED that Silverback will pay the Trustee $30,000.00, as provided under the

Settlement Agreement.

        ORDERED that McDowell Hetherington is awarded compensation in the amount of

$10,500.00 and reimbursement of approved expenses of $359.53 in connection with this

settlement; and it is further

        ORDERED that the Trustee is authorized to pay the compensation and fees awarded in

this Order as a chapter 7 administrative expense only upon Trustee’s receipt of the settlement

payment due under the Settlement Agreement;

        ORDERED that that upon entry of this Order on the docket, the Clerk shall simultaneously

docket this Order in Adversary No. 22-06017;

        ORDERED that Adversary No. 22-06017 is dismissed with prejudice; and it is further

        ORDERED the Court shall retain jurisdiction as to the enforcement of this Order.


        SIGNED this __________day of__________________, 2023.



                                      _________________________________
                                      Christopher M. Lopez,
                                      United States Bankruptcy Judge
